Case 2:04-cr-20416-SH|\/| Document 4 Filed 05/02/05 Page 1 of 2 Page|D 7

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UNlTED STATES DISTRICT COURT “ t

FOR THE l n .
WESTERN DlSTRlCT 0F TENNESSEE 93 HH" 2 Pfi 1a 143

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m !T‘ - \N. ‘E.`\”."FI '.‘-iS
UNITED STATES OF AMERICA )
)
vs. ) Cr. No. 04-20416-Ma
)
DERICO BOBBIT )

APPLICATION. ORDER and WRlT FOR HABEAS CORPUS AD PROSEOUENDUM

Katrina U. Earley, Assistant U.S. Attorney applies to the Court for a Writ to have Derico

 

Bobbit, R&I #234320. DOB 12-21-79. SSN XXX-XX-XXXX is now being detained in the Shelby Count_\;
Jail appear before the Honorable Thomas S. Anderson on 4th , Mav. 2005j at 2:00 p.m. for initial
appearance and for such other appearances as this Court may direct.

'Z-
Respectfully submitted this day of May, 2005.

 

Assistant U. S. jAttorney
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Upon consideration of the foregoing Application,
DAVID G. JOLLEY, U.S. MARSHAL, wESTERN olsTRlCT OF TENNESSEE, MEMPHIS, TN
SHERIFF/WARDEN,

YOU ARE HEREBY COMMANDED to have Derico Bobbit

appear before the Honorable Thomas S. Anderson at the date and time aforementioned.

»<O%_M; /c haw

UNITED STATES MAGISTRATE JUDGE

ENTERED this low ofM 2005.

 

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This notice confirms a copy of the document docketed as number 4 in
case 2:04-CR-204]6 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/iemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

